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                                                             5
                                                                 Attorneys for Defendant
                                                             6   JOSEPH BREWER
                                                             7

                                                             8                                   UNITED STATES DISTRICT COURT
                                                             9                                   EASTERN DISTRICT OF CALIFORNIA
                                                            10
M URPHY A USTIN A DAMS S CHOENFELD LLP




                                                            11   UNITED STATES OF AMERICA,                         Case No. 2:06-CR-0505EJG
                                                            12                      Plaintiff,                     STIPULATION AND ORDER
                                                                                                                   TEMPORARILY MODIFYING TERMS
                                         ATTORNEYS AT LAW




                                                            13          v.                                         AND CONDITIONS OF RELEASE
                                                            14   JOSEPH BREWER,
                                                            15                      Defendant.
                                                            16

                                                            17          Defendant JOSEPH BREWER is in the business of buying and selling used aircraft parts.

                                                            18   He has been in the business for more than 30 years. In connection with his business he travels to

                                                            19   The Netherlands approximately three to four times per year. Through business connections there,

                                                            20   he identifies desirable used aircraft parts and arranges for their purchase and shipment to the

                                                            21   United States.

                                                            22           Mr. Brewer requests that he be permitted to travel to The Netherlands between on or

                                                            23   about April 15 through on or about May 15 in order to maintain his business obligations.

                                                            24   Although there are no travel restrictions on his release, Mr. Brewer was ordered to surrender his

                                                            25   passport. It is requested that Mr. Brewer be permitted to retrieve his passport from the Court and

                                                            26   that he be permitted to travel to and from the Netherlands and that he re-surrender his passport to

                                                            27   the Court on or before May 20, 2007.

                                                            28
                                                                                                                 -1-                                    1311.003-446129.1

                                                                  STIPULATION AND ORDER TEMPORARILY MODIFYING TERMS AND CONDITIONS 2:06-CR-0505EJG
                                                                    Case 2:06-cr-00505-EJG Document 23 Filed 03/30/07 Page 2 of 2


                                                             1           Although Mr. Brewer is not being supervised by Pretrial Services, this request was
                                                             2   discussed with Gina Faubion who voiced no objection to Mr. Brewer’s travel.
                                                             3           IT IS HEREBY STIPULATED by and between the parties hereto through their respective
                                                             4   counsel, ELLEN ENDRIZZI, Assistant United States Attorney, attorney for plaintiff, and
                                                             5   GEOFFREY A. GOODMAN, attorney for defendant, that the conditions of defendant’s release
                                                             6   be temporarily modified as set forth herein and that Mr. Brewer may retrieve his passport from
                                                             7   the Court, that Mr. Brewer may travel to The Netherlands for business from on or about April 15
                                                             8   through on or about May 15, and that Mr. Brewer is ordered to re-surrender his passport on or
                                                             9   before May 20, 2007.
                                                            10   March 27, 2007
                                                                                                                  MURPHY AUSTIN ADAMS SCHOENFELD LLP
M URPHY A USTIN A DAMS S CHOENFELD LLP




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                                                            12
                                                                                                                  By:     /s/ Geoffrey A. Goodman
                                         ATTORNEYS AT LAW




                                                            13                                                            GEOFFREY A. GOODMAN
                                                                                                                          Attorneys for Defendant
                                                            14                                                            JOSEPH BREWER
                                                            15   March 27, 2007
                                                                                                                  MCGREGOR W. SCOTT
                                                            16                                                    UNITED STATES ATTORNEY
                                                            17

                                                            18                                                    By:     /s/ Ellen Endrizzi
                                                                                                                          ELLEN ENDRIZZI
                                                            19                                                            Assistant U.S. Attorney
                                                            20
                                                                                                                 ORDER
                                                            21
                                                                         Based on the parties’ stipulation and good cause appearing therefore, the Court hereby
                                                            22
                                                                 adopts the stipulation of the parties in its entirety as its order.
                                                            23
                                                                         DATED: March 29, 2007
                                                            24

                                                            25

                                                            26                                                    EDMUND F. BRENNAN
                                                                                                                  United States Magistrate Judge
                                                            27

                                                            28
                                                                                                                    -2-                               1311.003-446129.1

                                                                  STIPULATION AND ORDER TEMPORARILY MODIFYING TERMS AND CONDITIONS 2:06-CR-0505EJG
